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                          United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERM AN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
 vs.                                             §           Case No. 4:09cr193
                                                 §           (Judge Crone)
ASTRIT BEKTESHI (2)                              §

                          REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

       This matter having been referred by the Honorable Marcia Crone, the Court held a hearing

on September 6, 2012, on Defendant’s Motion to Withdraw Guilty Plea (Dkt. #268). In his motion,

Defendant seeks to withdraw his guilty plea, which was accepted by the District Judge, signed on

December 8, 2011 (Dkt. #234).

                                        BACKGROUND

       On October 15, 2009, the United States Grand Jury returned a two count indictment in the

Eastern District of Texas, charging the Defendant with a violation of 21 U.S.C. § 846, conspiracy

to distribute or possess with intent to distribute cocaine, heroin, 3, 4 methlenedioxymethamphetamin

(“Ecstasy”) or marijuana and a violation of 18 U.S.C. § 1956(h), conspiracy to commit money

laundering.

       On December 5, 2011, Defendant signed a plea agreement to count one of the indictment,

which charged him with conspiracy to manufacture or distribute or possess with intent to

manufacture or distribute controlled substances. Also on Decemeber 5, 2011, Defendant signed a

factual statement in support of his plea of guilty. Defendant’s plea agreement contains a Rule

11(c)(1)(C) agreement that Defendant’s sentence would be imprisonment for 135 months.

       On December 5, 2011, Defendant appeared before the undersigned for his change-of-plea

hearing. On December 5, 2011, Findings of Fact and Recommendation on Guilty Plea were entered.

On December 8, 2011, Judge Crone adopted the report, finding Defendant guilty of count one of the
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indictment. On May 11, 2012, the initial Presentence Report (“PSR”) was filed.

       On August 2, 2012, Defendant filed his motion to withdraw his plea of guilty (Dkt. #268).

On September 4, 2012, the United States filed a response (Dkt. #271). On September 6, 2012, the

Court conducted a hearing on the motion.

                                           ANALYSIS
                                       Standard of Review

       According to Rule 11(d)(2)(B) of the Federal Rules of Criminal Procedure, a district court

may grant a motion to withdraw a guilty plea before sentencing if the defendant shows “a fair and

just reason.” There is no absolute right to withdraw a guilty plea, and the Defendant bears the

burden of establishing a fair and just reason for withdrawing her plea. United States v. Puckett, 505

F.3d 377, 382 (5th Cir. 2007) (citation omitted); United States v. Lampazianie, 251 F.3d 519, 523-24

(5th Cir. 2001). In deciding whether to permit a defendant to withdraw a guilty plea, the Court is

granted “broad discretion.” United States v. Carr, 740 F.2d 339, 344 (5th Cir. 1984) (citation

omitted).

       To determine whether a defendant may withdraw a plea of guilty prior to sentencing, this

Court must look at the following factors: (1) whether the Defendant has asserted his innocence; (2)

whether the government would suffer prejudice if the withdrawal of the motion were granted; (3)

whether the Defendant has delayed in filing his withdrawal motion; (4) whether the withdrawal

would substantially inconvenience the Court; (5) whether close assistance of counsel was available;

(6) whether the original plea was knowing and voluntary; and (7) whether the withdrawal would

waste judicial resources. Id. at 343-44. The Court is not required to make a finding as to each

individual factor. United States v. Powell, 354 F.3d 362, 370 (5th Cir. 2003). The Carr factors are

considered for the totality of the circumstances and no single factor is dispositive. Lampazianie,

251 F.3d at 524; Powell, 354 F.3d at 370.

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                                          Discussion

        Defendant’s main argument in support of his claim that there is a fair and just reason to allow

him to withdraw his guilty plea is that he did not knowingly or voluntarily enter a guilty plea because

he was afraid he was going to receive a life sentence if he went to trial and was convicted.

Defendant also asserts that he is innocent.

Defendant’s Assertion of Innocence

        Defendant asserts his legal innocence. However, Defendant offers nothing to the Court to

illustrate his innocence other than his generic claim that he is now innocent.

        In his plea colloquy with the Court on December 5, 2011, Defendant, under oath, agreed to

the statement of facts and that he was pleading guilty to the facts that he conspired with others to

distribute or possess with intent to distribute at least fifteen kilograms but less than fifty kilograms

of cocaine. Defendant also stated that he understood the range of punishment. Defendant also

signed a plea agreement that contained his agreement to plead guilty to a violation of 21 U.S.C. §

846. After pleading guilty, Defendant was interviewed by a United States Probation Officer and did

not assert his innocence.

        During the September 6, 2012 motion-to-withdraw hearing, Defendant testified that he felt

scared when he pleaded guilty, but that he never told his attorneys that he was innocent.

        During the hearing, Defendant never denied that he was involved in the conspiracy, other

than to generically say that he was asserting his innocence, without any further explanation.

Delay in Filing Withdrawal Motion

        In Carr, the Fifth Circuit found a delay of twenty-two days before filing a motion for

withdrawal of a guilty plea to weigh against allowing the defendant to withdraw his plea. Carr, 740

F.2d at 345. “The rationale for allowing a defendant to withdraw a guilty plea is to permit him to


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undo a plea that was unknowingly made at the time it was entered. The purpose is not to allow a

defendant to make a tactical decision to enter a plea, wait several weeks, and then obtain a

withdrawal if he believes that he made a bad choice in pleading guilty.” Id.

       On December 5, 2011, Defendant pleaded guilty. The first communication from Defendant

that he would like to withdraw his guilty plea was the filing of the motion to withdraw on August

2, 2012. Defendant testified that he informed his lawyer that he wanted to withdraw his plea of

guilty six months after his plea. Even if the Court accepts Defendant’s asserted date, Defendant

waited almost six months from the time he entered his guilty plea before he made a request to

counsel to file a motion to withdraw. It appears that Defendant also waited until after the initial PSR

had been prepared before notifying the Court that he wanted to withdraw his guilty plea. The Court

finds that Defendant was not prompt. Defendant’s delay demonstrates a tactical decision, and

Defendant’s belief that he made a bad decision in pleading guilty. Therefore, the Court finds that

Defendant’s delay strongly favors denying the motion.

Assistance of Counsel

       In order for a Defendant’s guilty plea to be valid, “the defendant must have available the

advice of competent counsel. The advice of competent counsel exists as a safeguard to ensure that

pleas are voluntarily and intelligently made.” Matthew v. Johnson, 201 F.3d 353, 365 (5th Cir. 2000)

(internal citations omitted).

       In a recent case, the Fifth Circuit determined that close assistance of counsel under Rule

11(d)(2)(B) and “constitutionally ineffective assistance of counsel are distinct issues.” United States

v. McKnight, 570 F.3d 641, 646 (5th Cir. 2009). Ineffective assistance is a basis for invalidating a

conviction under the Sixth Amendment and not relevant to the decision of whether Defendant was

denied close assistance of counsel. Id.


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          The question of whether Defendant received the close assistance of counsel “requires a fact-

intensive inquiry.” Id. Defendant’s counsel at the time of his guilty plea is the same counsel

presenting the motion to withdraw. Defendant presented no credible evidence at the hearing on the

motion for withdrawal of the guilty plea that related to the assistance of counsel. Defendant entered

into a plea agreement with the Government. The plea agreement was signed by Defendant and his

counsel. Paragraph ten of the plea agreement states that Defendant reviewed all legal and factual

aspects of the case and that Defendant was fully satisfied with his counsel’s legal representation.

Defendant also represented, in signing the written consent form to proceed before the undersigned,

that he was satisfied with the representation provided to him. Defendant was also asked during his

plea colloquy whether he was satisfied with the representation provided by his counsel, and he

answered that he was.

          The Court cannot find fault with the representation provided by counsel. Therefore, the

Court finds that Defendant was not without assistance of adequate counsel in agreeing to plead

guilty.

Knowing and Voluntary Plea

          “For a plea to be knowing and voluntary, ‘the defendant must be advised of and understand

the consequences of the [guilty] plea.’” United States v. Gaitan, 954 F.2d 1005, 1011 (5th Cir. 1992)

(quoting United States v. Pearson, 910 F.2d 221, 223 (5th Cir. 1990)). Defendant must have notice

of the nature of the charges against him, he must understand the consequences of his plea, and he

must understand the nature of the constitutional protections he is waiving. Matthew, 201 F.3d at

365. For a guilty plea to be voluntary, it must “not be the product of ‘actual or threatened physical

harm, or ... mental coercion overbearing the will of the defendant’ or of state-induced emotions so

intense that the defendant was rendered unable to weigh rationally his options with the help of


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counsel.” Id. (quoting Brady v. United States, 397 U.S. 742, 750 (1970)).

       In this case, the Court informed the Defendant of the nature and consequences of his guilty

plea. The Court informed Defendant of the rights he gave up when pleading guilty, the potential

sentence he faced for pleading guilty, including imprisonment of 135 months, and the specific

elements of the crime. Defendant stated that he understood the penalties he could receive, that he

understood the elements of the offense, and that he understood his constitutional rights. He was

advised about the sentencing guidelines. The Court also reviewed the plea agreement. Defendant

testified that he understood.

       Defendant represented that his plea was freely and voluntarily made, and that no one forced

him, threatened him, or promised him anything other than what was contained in the plea agreement.

Counsel indicated that Defendant was competent and able to cooperate with him, and that he

understood the plea agreement. The Court went over, in detail, the statement of facts in support of

the plea agreement. Defendant acknowledged that the facts were true and correct and that he was

pleading guilty to the facts as recited by the Court. After acknowledging the facts supporting his

plea, Defendant entered a plea of guilty to count one of the indictment. Having been advised as to

the details and consequences of his plea, having repeatedly stated that he understood the proceedings,

and having repeatedly acknowledged his guilt, Defendant’s assertion that his plea was anything other

than knowing and voluntary is contradicted by the record. See United States v. Cothran, 302 F.3d

279, 283-84 (5th Cir. 2002) (reviewing courts give great weight to the defendant’s statement at the

plea colloquy).

       During the September 6, 2012 hearing, Defendant testified that he felt scared about facing

a possible life sentence based upon advice he was receiving from other inmates and family members.

These other individuals apparently told him to plead guilty and take the 135 month sentence.


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Defendant now states that he changed his mind. Although the Court can understand Defendant’s

motivation, the Court also understands that Defendant, if convicted, would be facing a much harsher

sentence than the 135 months agreed to by the parties. The Court finds Defendant less than credible.

The Court finds that Defendant’s plea was knowing and voluntary.

Remaining Factors

       The remaining factors for the Court to consider are as follows: (1) whether withdrawal would

cause the Government to suffer prejudice if the motion were granted; (2) whether withdrawal would

substantially inconvenience the Court; and (3) whether withdrawal would waste judicial resources.

       The Government asserts that if the plea were withdrawn, additional work would be required

because after the guilty plea, resources were shifted to other matters. Considering the nature of this

case, the Court finds that there would be prejudice to the Government if the plea were withdrawn.

       After considering the evidence presented, the arguments of counsel, and reviewing the record,

the Court finds that none of the Carr factors do weigh in Defendant’s favor. Defendant presented

no evidence that convinces the Court that Defendant should be allowed to withdraw his plea of

guilty. Given the totality of the circumstances, the Court finds that Defendant has failed to

demonstrate a fair and just reason to withdraw his plea of guilty.

                                     RECOMMENDATION

       The Court recommends that Defendant’s Motion to Withdraw Guilty Plea (Dkt. #268) be

DENIED.

       Within fourteen (14) days after service of the magistrate judge's report, any party may serve

and file written objections to the findings and recommendations of the magistrate judge. 28 U.S.C.

§ 636(b)(1)(c).

       Failure to file written objections to the proposed findings and recommendations contained


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    in this report within fourteen days after service shall bar an aggrieved party from de novo review by

.   the district court of the proposed findings and recommendations and from appellate review of factual

    findings accepted or adopted by the district court except on grounds of plain error or manifest

    injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

    Cir. 1988).

          SIGNED this 11th day of September, 2012.




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                                         AMOS L. MAZZANT
                                         UNITED STATES MAGISTRATE JUDGE




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